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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Hearing Date: June 8, 2023 at 9:00 a.m. (ET)
                                                              Obj. Deadline: at or prior to the hearing

         MOTION OF DEBTORS FOR ENTRY OF AN ORDER (A) AUTHORIZING
          THE DEBTORS TO FILE CERTAIN INFORMATION CONTAINED IN
           EXHIBITS A AND A-1 TO THE REVISED ORDER AUTHORIZING
         IMPLEMENTATION OF A KEY EMPLOYEE INCENTIVE PLAN UNDER
                  SEAL AND (B) GRANTING RELATED RELIEF

                  FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(collectively, the “Debtors”) hereby submit this motion (this “Motion”) for entry of an order,

substantially in the form attached hereto as Exhibit A (the “Order”), pursuant to section 107(b) of

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), rule 9018

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9018-1(b) of

the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

the District of Delaware (the “Local Rules”), (a) authorizing the Debtors to file under seal certain

information contained in exhibits A and A-1 (together, the “Exhibits”) to the revised proposed

form of Order Authorizing Implementation of a Key Employee Incentive Plan (the “Revised

KEIP Order”) filed under Certification of Counsel [D.I. 1559] (the “COC”) in any filings with




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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

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this Court, including in the COC and any order approving the KEIP Motion (defined below) and

(b) granting related relief. In support of the Motion, the Debtors respectfully state as follows:

                                                 Background

                  1.      On November 11 and November 14, 2022, the Debtors filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for

relief under Chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

businesses and manage their properties as debtors-in-possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. The Court authorized joint administration of the Debtors’ cases

(the “Chapter 11 Cases”) by entry of an order on November 22, 2022 [D.I. 128]. On December

15, 2022, the Office of the United States Trustee for the District of Delaware (the “U.S.

Trustee”) appointed an Official Committee of Unsecured Creditors (the “Committee”) pursuant

to section 1102 of the Bankruptcy Code [D.I. 231].

                  2.      Additional factual background relating to the Debtors’ businesses and the

commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of Edgar W.

Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the

Supplemental Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the

Supplemental Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].

                  3.      On April 26, 2023, the Debtors filed the Motion of Debtors for Entry of an

Order Authorizing Implementation of a Key Employee Incentive Plan (the “KEIP Motion”) 2.

Through the KEIP Motion, the Debtors seek authorization to implement the KEIP to incentivize




2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the KEIP Motion.

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the Company’s key employees that are necessary to maximize the going concern value of the

Company or to restart the Debtors’ exchange.

                  4.   On May 4, 2023, the Debtors filed the Notice of Revised Proposed Order

[D.I. 1435] providing notice of certain revisions to the proposed form of order attached to the

KEIP Motion (the “Initial Revised KEIP Order”).

                  5.   On May 11, 2023, the U.S. Trustee filed The United States Trustee’s

Objection to Motion of Debtors for Entry of an Order Authorizing Implementation of a Key

Employee Incentive Plan [D.I. 1477] (the “Objection”). To resolve the Objection, the Debtors

revised the Initial Revised KEIP Order as set forth in the Revised KEIP Order.

                  6.   Contemporaneously herewith, the Debtors filed the Revised KEIP Order

under Certification of Counsel [D.I. 1559] (the “COC”). Exhibit A-1 to the Revised KEIP Order

contains confidential commercial and employee information of the Debtors, such as the names,

compensation and award sizes for the KEIP Participants, and Exhibit A contains sufficient

information to easily discern the names of the individuals identified in Exhibit A-1 through the

identification of the specific Debtor-entity for which an individual is employed or otherwise

compensated by. Through this Motion, The Debtors are seeking to redact the information

contained in the “Payroll” column to the chart contained in Exhibit A and the names of the KEIP

Participants contained in Exhibit A-1 (collectively, the “Confidential Information”) in any filings

with this Court, including in the COC and any order approving the KEIP Motion. The

Confidential Information consists of highly sensitive commercial information regarding the

Debtors and their employees.

                  7.   In addition to the Court, the Debtors will provide counsel to the U.S.

Trustee and the Committee (collectively, the “Disclosure Parties”) with unredacted versions of

the Exhibits on a highly confidential basis.

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                                             Jurisdiction

                  8.    The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicates for the relief requested herein are section 107(b) of the

Bankruptcy Code, Bankruptcy Rule 9018 and Local Rule 9018-1(b). Pursuant to Local Rule

9013-1(f), the Debtors consent to the entry of a final order or judgment by the Court in

connection with this Motion to the extent it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                           Relief Requested

                  9.    By this Motion, the Debtors request entry of the Order, substantially in the

form attached hereto as Exhibit A, (a) authorizing the Debtors to file under the seal the

Confidential Information contained in the Exhibits in any filings related to the KEIP Motion with

this Court including, but not limited to, in the COC and any order approving the KEIP Motion

and (b) granting related relief.

                                            Basis for Relief

                  10.   Bankruptcy Code section 107(b) authorizes the issuance of orders that

protect parties from the potential harm resulting from the disclosure of confidential information.

Specifically, section 107(b) states that “[o]n request of a party in interest, the bankruptcy court

shall . . . (1) protect an entity with respect to a trade secret or other confidential research,

development, or commercial information . . ..” Similarly, Bankruptcy Rule 9018 and Local Rule

9018-1 authorize the filing under seal of documents containing confidential information.


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                  11.   The Debtors respectfully submit that the Confidential Information that

they seek to seal pursuant to this Motion is of a sensitive, confidential and proprietary nature, and

thus, is confidential commercial information as contemplated by section 107 of the Bankruptcy

Code. “Commercial information” has been defined as “information which would result in an

‘unfair advantage to competitors by providing them with information as to the commercial

operations of the debtor.’” In re Alterra Healthcare Corp., 353 B.R. 66, 75 (Bankr. D. Del.

2006) (quoting Video Software Dealers Ass’n v. Orion Pictures Corp. (In re Orion Pictures

Corp.), 21 F.3d 24, 27 (2d Cir. 1994)). Unlike its counterpart in rule 26(c) of the Federal Rules

of Civil Procedure, section 107(b) of the Bankruptcy Code does not require an entity seeking

such protection to demonstrate “good cause.” In re Orion Pictures Corp., 21 F.3d at 28. If an

interested party is requesting to seal information covered by section 107(b) of the Bankruptcy

Code, “the court is required to protect a requesting party and has no discretion to deny the

application.” Id. at 27. Moreover, the resulting order should be broad, that is “any order which

justice requires.” FED. R. BANKR. P. 9018; In re Global Crossing, Ltd., 295 B.R. 720, 724

(Bankr. S.D.N.Y. 2003). Courts are required to provide such protections, “generally where open

inspection may be used as a vehicle for improper purposes.” In re Orion Pictures Corp., 21 F.3d

at 27. Indeed, the “authority goes not just to the protection of confidential documents, but to

other confidentiality restrictions that are warranted in the interests of justice.” In re Global

Crossing, Ltd., 295 B.R. at 724.

                  12.   The Confidential Information the Debtors seek to file under seal consists

of highly sensitive commercial, personal and financial information. Disclosing the names of the

KEIP Participants, as well as compensation and awards for each KEIP Participant, would give

the Debtors’ competitors an unfair advantage because they could use it to target specific

employees with employment offers having greater compensation than those disclosed in the

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exhibits to the Revised KEIP Order that could give a competitor a significant and unfair

advantage to the detriment of the Debtors and/or subject such employees to unnecessary scrutiny

and/or potential poaching by competing businesses. If the Confidential Information were made

public, it could disrupt the Debtors’ sale and reorganization efforts and depress the value of the

Debtors’ estates to the ultimate detriment of the Debtors and their stakeholders.

                  13.   Additionally, public disclosure of the KEIP Participants’ names,

compensation and potential awards granted under the KEIP may cause conflict and distress

among the Debtors’ workforce, thereby lowering employee morale and further disrupting the

Debtors’ business operations. Moreover, it would be unfair to the KEIP Participants to have

their personal and financial information appear in public documents.

                  14.   Given their institutional knowledge, specialized skillsets and critical

relationships with regulators and Company employees, the KEIP Participants are necessary and

essential to the Debtors’ efforts to effectuate a successful, value-maximizing Transaction during

the pendency of these Chapter 11 Cases, and alternatively to ensure the Debtors’ continued

success upon the occurrence of a Reorganization. The KEIP is a proper incentive to the KEIP

Participants to induce them to commit the additional time and intensive support necessary to help

successfully navigate the Debtors through a Transaction or Reorganization. If the Debtors are

required to disclose the Confidential Information, it could undermine the very purposes of the

KEIP and may cause substantial harm to the Debtors’ estates. Therefore, the Debtors

respectfully submit that the relief requested herein is necessary to maintain the Debtors’

competitive advantage, to preserve the confidentiality of the KEIP Participants’ personal

information, and to avoid unnecessary disruptions in the Debtors’ operations. Accordingly, the

relief requested by this Motion to seal the Confidential Information is appropriate under section

107(b) of the Bankruptcy Code.

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                  15.   This Court has authorized debtors in other chapter 11 cases to file under

seal similar confidential information in connection with proposed employee incentive programs.

See, e.g., In re Gigamonster Networks, LLC, et al., Case No. 23-10051 (JKS) (Mar. 2, 2023), D.I.

228 (authorizing debtors to file under seal information related to a key employee retention plan);

In re Reverse Mortgage Investment Trust Inc., et al., Case No. 22-11225 (MFW), D.I. 491

(authorizing debtors to file under seal confidential information in KERP motion and declarations

in support thereof); In re RTI Holding Company, LLC, Case No. 20-12456 (JTD) (Jan. 22, 2021),

D.I. 912 (authorizing certain exhibits to declaration in support of KEIP/KERP to be filed under

seal); In re Furniture Factory Ultimate Holding, L.P., et al., Case No. 20-12816 (JTD) (Dec. 2,

2020), D.I. 141 (authorizing debtors to file names, positions, compensation and potential

payments of key employee retention plan participants under seal); In re SFP Franchise

Corporation, et al., Case No. 20-10134 (JTD), D.I. 194, 195 (authorizing debtors to file under

seal KERP motion and declaration in support thereof); In re Exide Holdings, Inc., et al., Case

No. 20-11157 (CSS) (July 8, 2020), D.I. 491 (authorizing debtors to file under seal reply in

support of KEIP/KERP motion); In re HRI Holdings Corp., et al., Case No. 19-12415 (MFW)

(Dec. 5, 2019), D.I. 150 (authorizing debtors to file under seal information related to debtors’

key employee retention plan and key employee incentive plan).

                  16.   Therefore, the Debtors submit for the reasons set forth herein that cause

exists under section 107(b) of the Bankruptcy Code and Bankruptcy Rule 9018 for the Debtors to

file the Confidential Information under seal, subject to disclosure to the Disclosure Parties.

                                   Notice and No Prior Request

                  17.   Notice of this Motion has been provided to: (a) the U.S. Trustee;

(b) counsel to the Committee; (c) the Securities and Exchange Commission; (d) the Internal

Revenue Service; (e) the United States Department of Justice; (f) the United States Attorney for


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the District of Delaware and (g) to the extent not listed herein, those parties requesting notice

pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be provided.

                  18.    No previous request for the relief sought herein has been made by the

Debtors to this or any other court.

                                             Conclusion

                  WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and

(b) grant such other and further relief as is just and proper.




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